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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 23-CIV-80833-CANNON


   MAHA JASTRAM, Individually and on
   Behalf of All Others Similarly Situated,

           Plaintiff,

   v.

   NEXTERA ENERGY, INC., JAMES
   ROBO, ERIC SILAGY, and DAVID P.
   REUTER,

         Defendants.
   ______________________________________/

                           [PROPOSED] ORDER GRANTING LEAD PLAINTIFFS’
                         UNOPPOSED MOTION FOR ENLARGEMENT OF TIME TO
                              OPPOSE DEFENDANTS’ MOTION TO DISMISS

           THIS CAUSE comes before the Court on Lead Plaintiffs City of Hollywood Police

   Officers Retirement System and Pembroke Pines Firefighters & Police Officers Pension Fund

   (collectively the “Retirement Funds” or “Lead Plaintiffs”) instant Motion regarding the filing of a

   Lead Plaintiffs’ Opposition to Defendants’ forthcoming Motion to Dismiss. It is hereby

   ORDERED AND ADJUDGED as follows:

        1. Lead Plaintiffs’ Unopposed Motion for Enlargement of Time to Oppose Defendants’

           Motion to Dismiss [ECF No. __] is hereby GRANTED;

        2. Lead Plaintiffs shall file an opposition to any motion to dismiss within 28 days of any

           Motion to Dismiss filed by Defendants;
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      DONE AND ORDERED in Chambers at Fort Pierce, Florida this __th day of________, 2023.




                                          AILEEN M. CANNON
                                          UNITED STATES DISTRICT JUDGE




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